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Case 2:07-cv-01447-LDG-PAL

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MALIK W, AHMAD, ESQ.

Nevada Bar No. 10305
City Center West, Suite 108

7201 West Lake Mead Blvd.

las Vegas, Nevada $9128
3} 270-9100 (Phone)
702) 384-5900 (Fax)
Malik 11397 /(@aol.com

Attorney for Plaintiff
David G. Smith

UNITED STATES DISTRICT
FOR THE DISTRICT OF NEVADA

SVI_INC.. DBA SPECIALTY VEHICLES,

A Nevada Corporation:

Plaintiff,

Wa,

DAVID G, SMITIL, Individually; BUS
SERVICES CORPORATION, DBA TRAMS
International. a California Corporation; DOES
Through X, Inclusive: ROE CORPORATIONS 1

Through X, Inclusive

Defendants.

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CASE NC 2:07-CV-1447
Hon. Lloyd D. George

Motion to Withdraw Ag Counsel

COMES NOW the undersigned attorney of record for the Plaintiff, David G:! Smith, and

prays this Court to enter order granting leave to withdraw as counsel for the Plaintiff herein,

and as grounds therefore would show the Court:

1. There have arisen irreconcilable differences between the Plaintiff and the

undersigned as the Plaintilf refuses to cooperate with counsel and has breached Retainer

agreement with counsel by refusing to make any payments under the contract, The undersigned

is. a Solo practitioner and it has been difficult for him to continue owing tv many chdrges on his

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practice. The Plaintiff has refused, delaying or is using dilatory tactics to pay his| fees which

has been accrued since last March. 2008.

2. The undersigned will be unable to effectively and properly continue repr

Plaintiff because of such differences and because of financial hardship.

3. The last known address of the Plaintiff is:

David G. Smith
1411 Delaware 44
Huntington Beach, CA 92648

WHEREFORE, upon hearing hereof, the undersigned prays:

1, That this Court enters an order allowing withdrawal herein:

2. For such relief as the Court deems just and proper.

Dated this 6th Day of September, 2008.

(sd) Malik W. Ahmad

eserling: the

MALIK W. AHMAD, ESQ.

Nevada Bar No. 10305
City Center West, Suite 108

7201 West Lake Mead Blvd.

Las Vewus, Nevada 89128
on 270-9100 (Phone)

702) 384-5900 (Fax)
Malik11397i@iaol.com
Attorney lor Plaintil
David G. Smith

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CERTIFICATE OF MAILING

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I HEREBY CERTIFY that on September 6th, 2008, 1 served a copy of the foregoing

MOTION TO WITHDRAW AS ATTORNEY OF RECORD, upon the followihg parties by

depositing the same in a sealed envelope in the United States Post Office, Las Vewas, Nevada

first class postage fully prepaid and addressed to the following:

David G. Smith
1411 Delaware #4
Huntington Beach, CA 92648

John TH. Caballero,

12070 Telegraph Road
Suite 103

Santa Fe Springs, CA 90670

Russell G Gubler
$831 West Sahara Avenue
Las Vegas, Nevada 89117

1 further certify that service was made by clectronic means to all other parties and their

counsel of record.

Malik W. Ahmad

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AFFIDAVIT OF MALIK W. AHMAD, ESQ.,
IN SUPPORT OF
MOTION TO WITHDRAW!
STATE OF NEVADA )
COUNTY OF CLARK ) ss:

Malik W. Ahmad, Fsq.. the Affiant. being first duly sworn, deposes and say$ as follows:

1. I am an attorney with the Law Office of Malik W. Ahmad, represer
David G. Smith, in the above entitled action.

2. Thave personal knowledge of all matters stated herein and would compe
to testify to them and make this Affidavit under the penalty of perjury.

3. | make this Affidavit in support of this Motion to Withdraw as Attomey q

4. There have arisen irreconcilable differences between the undersigned and

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tently be able

f Record.

in that the PlaintiT has breached his Retainer Agreement with counsels by refubi

payment under the contract,

5. Due to the irreconcilable differences which have arisen between the un
his client, the undersigned will be unable to effectively and properly continue repre
Plaintiff herein.

6. It is in the best interests of both undersigned and Plaintiff that their

relationship be terminated.

pie |

nting the

orney-client

Las

MALIK W. AHMAD, E

SUE EIBED AND SWORN to before me
this 4th day of September, 2008.

ma rn —

NOTARY PUBLIC

SQ.

